     Case 1:19-cv-02367-ABJ           Document 153-18        Filed 10/31/24   Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                    )
PETER P. STRZOK,                                    )
                                                    )
                               Plaintiff,           )
                                                    )
                       v.                           )        Case No. 1:19-CV-2367-ABJ
                                                    )
ATTORNEY GENERAL MERRICK B.                         )
GARLAND, in his official capacity                   )
as Attorney General of the United States, et al.,   )
                                                    )
                               Defendants.          )
                                                    )

                                      [PROPOSED] ORDER

       Having considered Plaintiff’s motion for summary judgment on Count II, Defendants’

response, and the entire record, IT IS HEREBY ORDERED:

       Plaintiff’s motion in GRANTED, and summary judgment is entered in Plaintiff’s favor as

to liability on Count II of Plaintiff’s Amended Complaint.

       Pursuant to Federal Rules of Civil Procedure 56 or 57, the Court DECLARES that Plaintiff

Peter P. Strzok is entitled to the rights afforded by the Last Chance Agreement signed by him on

July 26, 2018 and adopted by the decision signed and issued by FBI OPR AD Will on August 8,

2018, including reinstatement to a nonsupervisory position and termination only upon further

serious misconduct.

       The Parties are ORDERED to confer regarding the appropriate equitable relief, damages,

back pay, and attorneys’ fees on Count II within seven days of this Order. The Parties are

ORDERED to submit their joint or respective positions regarding a judgment as to remedies within

fourteen days of this Order.



                                                                                         10003246.1
Case 1:19-cv-02367-ABJ      Document 153-18   Filed 10/31/24   Page 2 of 2




Dated: __________________
                                              Honorable Amy Berman Jackson
                                              United States District Judge




                                                                       10003246.1

                                    2
